            Case 3:16-cv-05596-RBL Document 27 Filed 03/24/17 Page 1 of 3
                                                                          Honorable Ronald B. Leighton

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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10   ROBERT KORTER and LINDA KORTER,                     Case No.: 3:16-cv-05596-RBL

11                   Plaintiffs,
                                                         STIPULATION OF DISMISSAL
12   v.                                                  WITHOUT PREJUDICE

13   SALLIE MAE, INC. and NAVIENT
     SOLUTIONS, INC.,
14
                     Defendants.
15

16            Plaintiffs Robert Korter and Linda Korter (Plaintiffs) and defendant Navient

17   Solutions, LLC f/k/a Navient Solutions, Inc. f/k/a Sallie Mae, Inc. stipulate to dismiss all

18   Plaintiffs' claims, without prejudice, pursuant to Federal Rule of Civil Procedure

19   41(a)(1)(a)(ii), each party to bear its attorneys' fees and costs.

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21   ///

22   ///

23   ///

24   {41255986;1}
     STIPULATION OF DISMISSAL - 1
     WITHOUT PREJUDICE                                                     JORDAN RAMIS PC
     NO. 3:16-cv-05596-RBL
                                                                          2 Centerpointe Drive, Suite 600
                                                                           Lake Oswego, Oregon 97035
                                                                            Telephone.: 503-598-7070
           Case 3:16-cv-05596-RBL Document 27 Filed 03/24/17 Page 2 of 3



 1    Respectfully submitted, the 24th day of      Respectfully submitted, the 24th day of
      March, 2017.                                 March, 2017.
 2
       /s/ Sharon D. Cousineau                      /s/ Carolyn A. Pearson
 3    Sharon D. Cousineau                          Carolyn A. Pearson
      Samwel Cousineau, PC                         Jordan Ramis PC
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      Attorneys for Plaintiffs Robert Korter and   Attorneys for Defendant Navient Solutions,
      Linda Korter                                 LLC f/k/a Navient Solutions, Inc.
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     {41255986;1}NOTICE OF APPEARANCE - 2                         JORDAN RAMIS PC
     NO. 3:16-cv-05596-RBL
                                                                 2 Centerpointe Drive, Suite 600
                                                                  Lake Oswego, Oregon 97035
                                                                   Telephone.: 503-598-7070
           Case 3:16-cv-05596-RBL Document 27 Filed 03/24/17 Page 3 of 3



 1                                      PROOF OF SERVICE

 2          I hereby certify that on the 24th day of March, 2017, I electronically filed the

 3   foregoing STIPULATION OF DISMISSAL WITHOUT PREJUDICE with the Clerk of

 4   Court using the CM/ECF system and that I sent notice of the filing upon the following in the

 5   stated manner:

 6   Sharon D. Cousineau
     Samwel Cousineau, P.C.
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     Vancouver, WA 98660
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     James J. Parr
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     Attorneys for Plaintiffs
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13                                                      s/ Trish Madigan

14

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     {41255986;1}PROOF OF SERVICE - 3                               JORDAN RAMIS PC
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